Case 2:21-cv-09317-MCS-SK Document 43 Filed 04/20/22 Page 1 of 12 Page ID #:2474
Case 2:21-cv-09317-MCS-SK Document 43 Filed 04/20/22 Page 2 of 12 Page ID #:2475




  and television shows through embedded streaming or through third-party sites to
  which PrimeWire provides links. Id. ¶ 8. Links are added to PrimeWire in two
  different ways. First, Defendants, the PrimeWire operators, themselves add links to
  the PrimeWire database. Id. ¶ 23. Second, Defendants also ask users to submit links
  to a PrimeWire forum. Id. ¶ 24. These links are later approved by a PrimeWire
  moderator. Id. ¶ 26. Defendants make money from this third-party streaming by
  hosting advertisements on the PrimeWire website. Id. ¶ 31.

         Plaintiffs negotiate with distributors and licensees over the prices and
  circumstances of reproduction and performance of the copyrighted works. Miller
  Decl. ¶ 19. A large part of this strategy is windowing, or making the work available
  exclusively available through certain channels over a specific time period. Id. ¶ 20.
  Plaintiffs allege unauthorized streaming undermines their contractual commitments
  by weakening Plaintiffs’ future negotiating position and making it more difficult for
  counterparties to achieve a profit. Id. ¶¶ 24–25.

        Plaintiffs filed suit to enjoin Defendants from performing Plaintiffs’ works, to
  enjoin Defendants from hosting the works on the PrimeWire website, for damages,
  and for other associated relief. Compl., ECF No. 1. The Court previously entered a
  preliminary injunction against Defendants. Order, ECF No. 30.

  II.    LEGAL STANDARD

         Federal Rule of Civil Procedure 55(b)(2) permits the Court to enter default
  judgment. The Court need not make detailed findings of fact in the event of default.
  Adriana Int’l Corp. v. Thoeren, 913 F.2d 1406, 1414 (9th Cir. 1990). On entry of
  default, well-pleaded allegations in the complaint concerning liability are taken as
  true. Damages, however, must be proven. Garamendi v. Henin, 683 F.3d 1069, 1080
  (9th Cir. 2012) (citing Geddes v. United Fin. Grp., 559 F.2d 557, 560 (9th Cir. 1977)).

         Courts consider several factors in determining whether to enter default
  judgment: “(1) the possibility of prejudice to the plaintiff, (2) the merits of plaintiff’s
  substantive claim, (3) the sufficiency of the complaint, (4) the sum of money at stake
  in the action[,] (5) the possibility of a dispute concerning material facts[,] (6) whether
  the default was due to excusable neglect, and (7) the strong policy underlying the
  Federal Rules of Civil Procedure favoring decisions on the merits.” Eitel v. McCool,
  782 F.2d 1470, 1471–72 (9th Cir. 1986).




   Page 2 of 12                   CIVIL MINUTES – GENERAL         Initials of Deputy Clerk SMO
Case 2:21-cv-09317-MCS-SK Document 43 Filed 04/20/22 Page 3 of 12 Page ID #:2476




         Local Rule 55-1 requires the party seeking default judgment to submit a
  declaration establishing (1) when and against which party the default was entered;
  (2) the identification of the pleading to which default was entered; (3) whether the
  defaulting party is an infant or incompetent person, and if so, whether that person is
  represented by a general guardian, committee, conservator, or other representative;
  (4) that the Servicemembers Civil Relief Act does not apply; and (5) that the
  defaulting party was properly served with notice. C.D. Cal. R. 55-1.

  III.   DISCUSSION

         A.       Partial Default Judgment

        Plaintiffs only seek default judgment as to liability and a permanent
  injunction. They request deferral of the issues of damages and costs until they
  conduct discovery. Mot. 2–3. The Ninth Circuit has implicitly endorsed the practice
  of entering partial default judgment. See Dreith v. Nu Image, Inc., 648 F.3d 779,
  785–86, 790 (9th Cir. 2011) (reviewing with approval district court’s entry of default
  judgment as to liability before awarding damages).

         B.       Jurisdiction and Service of Process

         The Court must first address whether it may exercise subject-matter
  jurisdiction and personal jurisdiction over Defendants and whether Plaintiffs
  properly served Defendants. In re Tuli, 172 F.3d 707, 712 (9th Cir. 1999).

         The Court has subject-matter jurisdiction over Plaintiffs’ copyright
  infringement claims. 28 U.S.C. § 1338(a). Plaintiffs have properly served
  Defendants. ECF No. 22.

         Plaintiffs assert the Court has personal jurisdiction over Defendants under
  Federal Rule of Civil Procedure 4(k)(2). Rule 4(k)(2) permits a court to exercise
  personal jurisdiction where “a claim . . . arises under federal law” if “the defendant
  is not subject to jurisdiction in any state’s courts of general jurisdiction” and if
  “exercising jurisdiction is consistent with the United States Constitution and laws.”
  A copyright infringement action arises under federal law. 28 U.S.C. § 1338(a).
  Whenever a plaintiff contends that no state court can exercise general jurisdiction
  over a defendant, the defendant must contest that assertion. Holland Am. Line Inc. v.
  Wartsila N. Am., Inc., 485 F.3d 450, 461–62 (9th Cir. 2007). Defendants have not



   Page 3 of 12                   CIVIL MINUTES – GENERAL     Initials of Deputy Clerk SMO
Case 2:21-cv-09317-MCS-SK Document 43 Filed 04/20/22 Page 4 of 12 Page ID #:2477




  appeared to argue they are subject to jurisdiction in any state court, so Plaintiffs have
  met this element.

         Finally, exercising personal jurisdiction comports with United States law and
  due process if a defendant purposefully directs its activities toward the forum, if the
  claim arises out of or relates to the defendant’s forum-related activities, and if the
  exercise of jurisdiction is reasonable. AMA Multimedia, LLC v. Wanat, 970 F.3d
  1201, 1208 (9th Cir. 2020). A defendant purposefully aims an act at a forum if it
  commits an intentional act expressly aimed at a forum that causes a harm the
  defendant knows is likely to be suffered in the forum. Marvix Photo, Inc. v. Brand
  Techs., Inc., 647 F.3d 1218, 1228 (9th Cir. 2011). Here, Defendants committed an
  intentional act of operating a website to stream Plaintiffs’ copyrightable works.
  Compl. ¶¶ 2, 36–44; see Wanat, 970 F.3d at 1209. Defendants also expressly aimed
  their acts at the United States. Over half of PrimeWire traffic comes from the United
  States. Id. ¶ 4. Defendants also claim they are beneficiaries of the protections in the
  Digital Millennium Copyright Act. Id. ¶ 29. They have instructed website visitors
  how to use virtual private networks (“VPNs”) to avoid United States law
  enforcement and the National Security Agency, id. ¶¶ 2, 29, and they have a contract
  with Cloudflare to ensure that PrimeWire has reliable services in the United States,
  id. ¶ 28. While the Ninth Circuit has held that a court does not have personal
  jurisdiction over a website operator whose United States users upload infringing
  content and over a website operator who uses geolocated advertisements to attract
  new users, Wanat, 970 F.3d at 1210–11, here, Defendants have targeted the United
  States specifically rather than global internet users generally. The references to
  United States laws, the large portion of United States–based website traffic, and the
  contract with Cloudflare demonstrate Defendants’ intent to have PrimeWire target
  the United States specifically with their activities. Thus, Defendants have
  purposefully directed their activities at the United States.

         The claims arise out of or relate to Defendants’ contacts with the United States
  because the claims arise out of the operation of a website intentionally targeted at
  the United States. Lastly, “where a defendant who purposefully has directed [its]
  activities at forum residents seeks to defeat jurisdiction, [it] must present a
  compelling case that the presence of some other considerations would render
  jurisdiction unreasonable.” Burger King Corp. v. Rudzewicz, 471 U.S. 462, 477
  (1985). Because Defendants have not appeared to contest the exercise of jurisdiction,
  Defendants have not shown the exercise of jurisdiction is unreasonable.




   Page 4 of 12                   CIVIL MINUTES – GENERAL       Initials of Deputy Clerk SMO
Case 2:21-cv-09317-MCS-SK Document 43 Filed 04/20/22 Page 5 of 12 Page ID #:2478




       The Court thus concludes that it can properly consider the entry of default
  judgment against Defendants.

         C.       Procedural Requirements

         The motion meets the procedural requirements of Local Rule 55-1. The Clerk
  entered default against Defendants on February 1, 2022. ECF No. 34. Defendants
  are not infants or incompetent, and the Servicemembers Civil Relief Act does not
  apply. Defendants have been served with notice. Klaus Decl. ¶¶ 3–7, ECF No. 36-
  16.

         D.       Eitel Factors

                  1.    Prejudice to Plaintiffs

         The first Eitel factor examines whether the plaintiff will be prejudiced if
  default judgment is not granted. Eitel, 782 F.2d at 1471. A plaintiff suffers prejudice
  if there is no recourse for recovery absent default judgment. Philip Morris USA Inc.
  v. Castworld Prods., Inc., 219 F.R.D. 494, 499 (C.D. Cal. 2003). Plaintiffs allege
  they have suffered significant harm to their businesses due to infringement.
  Defendants also remain unidentified, Van Voorn Decl. ¶¶ 37–47, so it will be difficult
  for Plaintiffs to get recovery without default judgment. This supports entering
  default judgment. Panda Rest. Grp., Inc. v. Enymedia, Inc., No. 2:21-cv-3560-AB-
  AS, 2021 WL 4927416, at *4 (C.D. Cal. Aug. 12, 2021) (finding prejudice where a
  defendant does not appear in a copyright infringement case).

                  2.    Merits of Plaintiffs’ Claims and Sufficiency of Complaint

        The second and third Eitel factors require that the plaintiff “state a claim on
  which the [plaintiff] may recover.” Castworld, 219 F.R.D. at 499 (alteration in
  original) (quoting PepsiCo, Inc. v. Cal. Sec. Cans, 238 F.Supp.2d 1172, 1175 (C.D.
  Cal. 2002)). Plaintiffs seek default judgment on its copyright claims for induced and
  contributory infringement.

         To state a claim for induced copyright infringement, a plaintiff must
  demonstrate four elements: “(1) the distribution of a device or product, (2) acts of
  infringement, (3) an object of promoting its use to infringe copyright, and
  (4) causation.” Columbia Pictures Indus., Inc. v. Fung, 710 F.3d 1020, 1032 (9th Cir.



   Page 5 of 12                    CIVIL MINUTES – GENERAL     Initials of Deputy Clerk SMO
Case 2:21-cv-09317-MCS-SK Document 43 Filed 04/20/22 Page 6 of 12 Page ID #:2479




  2013). Plaintiffs properly allege each element. First, Defendants operated the
  PrimeWire website and made it available to others. Compl. ¶¶ 37–41.

         Second, Plaintiffs allege two acts of direct infringement by third parties. “To
  prove [direct] copyright infringement, a plaintiff must demonstrate (1) ownership of
  the allegedly infringed work and (2) copying of the protected elements of the work
  by the defendant.” Unicolors, Inc. v. Urban Outfitters, Inc., 853 F.3d 980, 984 (9th
  Cir. 2017) (quoting Pasillas v. McDonald’s Corp., 927 F.2d 440, 442 (9th Cir.
  1991)). The Complaint alleges Plaintiffs are the true and rightful owners of the
  copyrightable works in this case and have certificates of copyright registration.
  Compl. ¶ 21; Compl. Ex. A, ECF No. 1-1. Copyright registrations are prima facie
  evidence of the validity and ownership of copyrights. 17 U.S.C. § 410(c). The first
  alleged act of copying protected elements is third parties making unauthorized
  videos in violation of the reproduction right protected in 17 U.S.C. § 106(1). Compl.
  ¶¶ 38–40; see A&M Records, Inc. v. Napster, Inc., 239 F.3d 1004, 1014 (9th Cir.
  2001) (“Napster users who download files containing copyrighted music violate
  plaintiffs' reproduction rights.”). The second is third parties streaming works over
  the internet in violation of the public performance right protected by 17 U.S.C.
  § 106(4). Compl. ¶¶ 38–40; see Columbia Pictures Indus., Inc. v. Galindo, No. 2:20-
  cv-03129-SVW-GJS, 2020 WL 3124347, at *2 (C.D. Cal. May 11, 2020) (“The
  internet streaming of full copyrighted works without authorization constitutes a
  violation of this exclusive right.”).

         Third, Defendants promoted infringement by featuring Plaintiffs’ works on
  the website, by curating third-party streaming links, and by providing detailed
  instructions for rating and streaming these works. Compl. ¶¶ 41–57. Fourth,
  Defendants cause and encourage infringing third parties to provide streaming links
  to PrimeWire. Id. ¶¶ 41–51. Thus, Plaintiffs have properly alleged induced
  infringement.

         To state a claim for contributory copyright infringement, a plaintiff must
  show: (1) the defendant knows of a third party’s direct infringement; and (2) that the
  defendant materially contributed to or induced the infringement. Perfect 10, Inc. v.
  Giganews, Inc., 847 F.3d 657, 670 (9th Cir. 2017). Defendants moderate the third-
  party links to confirm these links meet PrimeWire requirements, Compl. ¶ 46, use a
  rating system to encourage third parties to post links, id. ¶ 42, conceal their own
  identities, id. ¶¶ 58–62, advise users to use VPNs to conceal their identity, id. ¶ 2,
  and provide a service that connects the streaming performances and internet users,
  id. ¶¶ 1, 3. These allegations establish knowledge because they demonstrate

   Page 6 of 12                  CIVIL MINUTES – GENERAL      Initials of Deputy Clerk SMO
Case 2:21-cv-09317-MCS-SK Document 43 Filed 04/20/22 Page 7 of 12 Page ID #:2480




  awareness of mass copyright infringement and infringement of Plaintiffs’ works. See
  Napster, 239 F.3d at 1021 (“[I]f a computer system operator learns of specific
  infringing material available on his system and fails to purge such material from the
  system, the operator knows of and contributes to direct infringement.”). These
  allegations establish the material contribution element because Defendants
  substantially assist with direct infringement by allowing infringing third parties to
  display their works to more users. Cf. Louis Vuitton Malletier, S.A. v. Akanoc Sols.,
  Inc., 658 F.3d 936, 943 (9th Cir. 2011) (holding operating servers on which
  infringing material resides constitutes material contribution).

         The second and third factors support entering default judgment.

                  3.   Sum of Money at Stake

         In the fourth Eitel factor, the Court balances “the amount of money at stake in
  relation to the seriousness of Defendant’s conduct.” PepsiCo, 238 F. Supp. 2d at
  1176. On this motion, Plaintiffs do not seek monetary damages, but only an
  injunction preventing Defendants from displaying and reproducing Plaintiffs’ works.
  This factor therefore weighs in favor of default judgment. See id. at 1176–77 (finding
  amount at stake favored default judgment where plaintiff sought injunctive relief,
  not monetary damages, for trademark infringement).

                  4.   Possibility of Dispute

         The fifth Eitel factor examines whether there is likelihood of a dispute of
  material facts. Eitel, 782 F.2d at 1471–72. Upon entry of default, the court accepts
  all well-pleaded facts as true. Garamendi, 683 F.3d at 1080. As such, when a plaintiff
  pleads the facts necessary to prevail, there is little possibility of dispute over material
  facts. Castworld, 219 F.R.D. at 500. Plaintiffs’ Complaint adequately alleges
  copyright infringement, so the possibility of dispute is remote.

                  5.   Possibility of Excusable Neglect

         The sixth Eitel factor considers whether the defendant’s actions may be due
  to excusable neglect. Eitel, 782 F.2d at 1472. There is little possibility of excusable
  neglect when the defendant is properly served or is aware of the litigation. Wecosign,
  Inc., v. IFG Holdings, Inc., 845 F. Supp. 2d 1072, 1082 (C.D. Cal. 2012). Plaintiffs
  properly served Defendants, and Defendants have made changes to the PrimeWire
  website in response to this litigation. See Reply, ECF No. 37; Notice of Changes,

   Page 7 of 12                   CIVIL MINUTES – GENERAL         Initials of Deputy Clerk SMO
Case 2:21-cv-09317-MCS-SK Document 43 Filed 04/20/22 Page 8 of 12 Page ID #:2481




  ECF No. 39; Notice of Defaulting Defs.’ Resp., ECF No. 42. The possibility of
  excusable neglect is minimal.

                  6.   Policy Favoring Decisions on the Merits

         “Cases should be decided upon their merits whenever reasonably possible.”
  Eitel, 782 F.2d at 1472. “However, the mere existence of Fed. R. Civ. P. 55(b)
  indicates that this preference, standing alone, is not dispositive.” PepsiCo, 238 F.
  Supp. 2d at 1177 (internal quotation marks omitted). Defendants failed to respond
  to Plaintiffs’ Complaint or offer any defense in this matter, precluding a decision on
  the merits. This factor does not preclude entry of default judgment. See id.

        Weighing the Eitel factors, the Court finds that default judgment is
  appropriate.

         E.       Remedy

         Through this motion, Plaintiffs seek an injunction. Am. Proposed Order, ECF
  No. 39-1. Courts may grant injunctive relief for copyright infringement “on such
  terms as it may deem reasonable to prevent or restrain infringement of a copyright.”
  17 U.S.C. § 502(a). To obtain a permanent injunction, “a plaintiff must demonstrate:
  (1) that it has suffered an irreparable injury; (2) that remedies available at law, such
  as monetary damages, are inadequate to compensate for that injury; (3) that,
  considering the balance of hardships between the plaintiff and defendant, a remedy
  in equity is warranted; and (4) that the public interest would not be disserved by a
  permanent injunction.” eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391
  (2006).

         The Court incorporates the analysis of the irreparable injury, balance of
  hardships, and public interest factors from its order granting the motion for a
  preliminary injunction. Order 4–6. Plaintiffs have no adequate remedy at law for
  unauthorized streaming where they are unlikely to collect any damages. Metro-
  Goldwyn-Mayer Studios, Inc. v. Grokster, Ltd., 518 F. Supp. 2d 1197, 1219–20 (C.D.
  Cal. 2007); Jackson v. Sturkie, 255 F. Supp. 2d 1096, 1103 (N.D. Cal. 2003)
  (granting permanent injunction as part of default judgment in copyright infringement
  action in part because “defendant’s lack of participation in this litigation has given
  the court no assurance that defendant’s infringing activity will cease”).




   Page 8 of 12                  CIVIL MINUTES – GENERAL        Initials of Deputy Clerk SMO
Case 2:21-cv-09317-MCS-SK Document 43 Filed 04/20/22 Page 9 of 12 Page ID #:2482




          A permanent injunction is thus appropriate under the eBay factors. Plaintiffs
  bring to the attention of the Court that Defendants have allegedly changed their
  websites to comply with the preliminary injunction and the relief Plaintiffs requested
  in the permanent injunction. Reply; Notice of Changes; Notice of Defaulting Defs.’
  Resp. A federal court does not have jurisdiction to grant injunctive relief if the party
  against whom the injunction would be enforced voluntarily ceases that activity and
  it is “absolutely clear that the allegedly wrongfully behavior could not reasonably be
  expected to recur.” Friends of the Earth, Inc. v. Laidlaw Env’t Servs. (TOC), Inc.,
  528 U.S. 167, 189 (2000) (internal quotation marks omitted). It is the burden of the
  party voluntarily ceasing its conduct to appear and make the strong showing it cannot
  reasonably be expected to restart its behavior. Already, LLC v. Nike, Inc., 568 U.S.
  85, 92 (2013). Defendants have not defended this lawsuit despite receiving notice
  and despite changing the PrimeWire website in response to the Court’s orders.
  Should Defendants wish to make this showing, Defendants are free to enter an
  appearance and move to set aside the default judgment. Fed. Rs. Civ. P. 55(c), 60(b).

         Plaintiffs request a new form of injunctive relief beyond the scope of the
  preliminary injunction: that Defendants transfer the operation of the PrimeWire
  websites to Plaintiffs. Am. Proposed Order ¶ 3. Other courts have approved this form
  of relief in copyright infringement cases. E.g., Warner Bros. Ent., Inc. v. Vega, No.
  CV 11-05985 SJO (SPx), 2012 WL 13008442, at *5 (C.D. Cal. Mar. 29, 2012);
  McGraw-Hill Glob. Educ. Holdings, LLC v. Khan, 323 F. Supp. 3d 488, 500–01
  (S.D.N.Y. 2018) (collecting cases). The Court concludes this is appropriate and
  authorizes this requested relief.

         F.       Leave to Conduct Discovery

         Federal Rule of Civil Procedure 26 governs the scope and timing of discovery.
  Pursuant to Rule 26(d)(1), a party “may not seek discovery from any source before
  the parties have conferred as required by Rule 26(f) . . . [unless] authorized by these
  rules, by stipulation, or by court order.” Federal Rule of Civil Procedure 55(b)(2)
  also provides that “[t]he court may conduct hearings or make referrals . . . when, to
  enter or effectuate judgment, it needs to: . . . (B) determine the amount of
  damages; . . . or (D) investigate any other matter.” Courts often allow discovery on
  the issue of damages after the entry of default. See, e.g., Oakley, Inc. v. Moda
  Collection, LLC, No. SACV 16-160-JLS (JCGx), 2016 U.S. Dist. LEXIS 191048, at
  *19–20 (C.D. Cal. June 9, 2016) (collecting cases). The Court grants Plaintiffs leave
  to conduct discovery to ascertain the existence and amount of damages.



   Page 9 of 12                  CIVIL MINUTES – GENERAL        Initials of Deputy Clerk SMO
Case 2:21-cv-09317-MCS-SK Document 43 Filed 04/20/22 Page 10 of 12 Page ID #:2483




  IV.    CONCLUSION

        The Court grants the motion as to liability against Defendants for Plaintiffs’
  claims of copyright infringement. The Court also grants Plaintiffs’ requested
  permanent injunction. The Court orders the following:

         1.        Defendants, and all individuals who serve as Defendants’ officers,
                   agents, servants, employees and attorneys, and other persons who
                   have notice of this injunction and are in privity with Defendants
                   and/or acting in active concert or participation with Defendants, their
                   officers, agents, servants employees or attorneys, ARE HEREBY
                   RESTRAINED AND ENJOINED from:
                   a.     linking to, distributing, reproducing, copying, hosting,
                          uploading, making available for download, indexing,
                          displaying, exhibiting, publicly performing (including without
                          limitation streaming, transmitting, or otherwise communicating
                          to the public), or otherwise exploiting or making any use of any
                          rights under the Copyright Act in any motion picture or other
                          audiovisual work (or portion(s) thereof in any form), the rights
                          to which Plaintiffs or their affiliates own or control
                          (“Copyrighted Works”);
                   b.     taking any action that directly or indirectly enables, facilitates,
                          permits, assists, solicits, encourages or induces any user or
                          other third party (i) to link to, distribute, reproduce, copy, host,
                          upload, download, index, display, exhibit, publicly perform
                          (including without limitation streaming, transmitting, or
                          otherwise communicating to the public), or otherwise use or
                          exploit in any manner any of Plaintiffs’ Copyrighted Works or
                          portion(s) thereof; or (ii) to make available any of Plaintiffs’
                          Copyrighted Works or portion(s) thereof for linking to,
                          distributing, reproducing, copying, hosting, uploading,
                          downloading, indexing, displaying, exhibiting, publicly
                          performing (including without limitation streaming,
                          transmitting, or otherwise communicating to the public), or for
                          any other use or means of exploitation;
                   c.     transferring or performing any function that results in the
                          transfer of the registration of the domain name of
                          www.primewire.li, www.primewire.ag, www.primewire.vc, or



   Page 10 of 12                     CIVIL MINUTES – GENERAL        Initials of Deputy Clerk SMO
Case 2:21-cv-09317-MCS-SK Document 43 Filed 04/20/22 Page 11 of 12 Page ID #:2484




                       www.primewire.tf (“PrimeWire Websites”) to any other
                       registrant or registrar other than as identified by Plaintiffs; and
               d.      assisting, aiding or abetting any other person or business entity
                       in engaging in or performing any of the activities referred to in
                       the above subparagraphs (a)–(c); and
            2. In order to give practical effect to the Permanent Injunction, the
               PrimeWire Websites are hereby ordered to be immediately transferred
               by the Defendants, their assignees and/or successors-in-interest or
               title, and/or the domain name registrars (currently Sarek Oy and
               Gandi SAS, collectively “Registrars”) to Plaintiffs’ control. To the
               extent the current Registrars do not facilitate the transfer of the
               PrimeWire Websites to Plaintiffs’ control within five (5) days of
               receipt of this Judgment, upon Plaintiffs’ request, Defendants and the
               top level domain (TLD) registry for each of the PrimeWire Websites
               (Nic AG, SWITCH, Afilias, Inc., and Association Française pour le
               Nommage Internet en Coopération (A.F.N.I.C.), collectively
               “Registries”), or their administrators, including backend registry
               operators or administrators, shall, within thirty (30) days, (i) change
               the registrar of record for the PrimeWire Websites to a registrar of
               Plaintiffs’ choosing, and that registrar shall transfer the subject
               domain names to Plaintiffs, or (ii) place the PrimeWire Websites on
               registry hold status for the life of the current registration, thus
               removing them from the TLD zone files maintained by the registries
               which link the PrimeWire Websites to the IP addresses where the
               associated websites are hosted.
         3.    The Court will retain jurisdiction to enforce the Permanent Injunction.
               Plaintiffs may request that the Permanent Injunction apply to
               additional domains if the Court determines that the evidence
               sufficiently establishes such domains are being operated by
               Defendants and infringe Plaintiffs’ Copyrighted Works.

       IT IS FURTHER ORDERED that Plaintiffs may service this order on
  Defendants by email;

         IT IS FURTHER ORDERED that Plaintiffs are granted leave to seek third-
  party discovery on damages for their copyright infringement claims; and

         IT IS FURTHER ORDERED that Plaintiffs’ requirement to post a bond shall
  be dissolved and that bond relinquished.

   Page 11 of 12                  CIVIL MINUTES – GENERAL       Initials of Deputy Clerk SMO
Case 2:21-cv-09317-MCS-SK Document 43 Filed 04/20/22 Page 12 of 12 Page ID #:2485




         The Court gives Plaintiffs leave to conduct discovery as to damages and defers
  the entry of final judgment until further motion by Plaintiffs. Plaintiffs shall file
  either a further motion for default judgment or an explanation for why they need
  more time to conduct damages discovery within 90 days of this order. The Court will
  deem failure to timely file a further motion as abandonment of the unresolved claims
  for damages and costs.

  IT IS SO ORDERED.




   Page 12 of 12                CIVIL MINUTES – GENERAL       Initials of Deputy Clerk SMO
